Case 1:18-cv-00614-MSN-IDD Document 383 Filed 03/02/22 Page 1 of 1 PageID# 8325




                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

                                             )
 JANE DOE,                                   )
                                             )
         Plaintiff,                          )
                                             )
 v.                                          )       Case No. 1:18-cv-614 (MSN-IDD)
                                             )
 FAIRFAX COUNTY SCHOOL BOARD,                )
                                             )
         Defendant.                          )
                                             )

                PLAINTIFF’S NOTICE OF WAIVER OF HEARING ON
      PLAINTIFF’S MOTION FOR A STATUS CONFERENCE TO SET A TRIAL DATE

         Plaintiff Jane Doe, through counsel, respectfully informs the Court that she waives a

 hearing on Plaintiff’s Motion for a Status Conference To Set a Trial Date. Dkt. #382.

         Plaintiff inquired as to defendant’s position, and counsel for defendant indicated that

 defendant would waive a hearing, but that defendant intends to respond to the motion.

 Date: March 2, 2022                  Respectfully submitted,

                                             ATES LAW FIRM, P.C.

                                                /s/ John R. Ates_______
                                             John R. Ates (VSB #71697)
                                             1800 Diagonal Road, Suite 600
                                             Alexandria, Virginia 22314
                                             703-647-7501 (tel)
                                             j.ates@ateslaw.com
